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                                   UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION


RE:      YAMILET GONZALEZ TOSCANO                                                         CASE NUMBER: 24-18399-CLC

                     TRUSTEE'S NOTICE OF DEFICIENCY AND RECOMMENDATION
                      (If this case is dismissed, this deficiency is an objection to reinstate)

The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee’s letter
or requirements under the Bankruptcy Code and Rules. The Trustee reserves the right to raise additional
objections UNTIL all documents are provided to the Trustee and reviewed for issues raised and additional
documents needed. See Court Notice of Commencement for additional information and Trustee’s website
www.CH13miami.com for forms and procedures.

As appropriate, all written responses or documents must be received through BKDOCS.US or filed with the
Clerk by 5pm at least 15 days prior to the first confirmation hearing or agreed deadline if confirmation is
continued. Pro Se debtors may fax documents to 954-443-4452. Late documents may not be reviewed or
considered, and this case may be at risk of dismissal. The Trustee’s Office has a “Pre-call” date, THE
THURSDAY PRIOR TO THE HEARING. During this period, the Debtor’s or Creditor’s attorney must call
and speak to the Trustee’s staff attorney unless they agree to the Trustee’s recommendation. A final calendar
will be published with any changes to this recommendation the day before the hearing on the front page of the
Trustee’s website.

 ***RECOMMENDATIONS ARE CHANGED UPON REVIEW OF DOCUMENTS NOT RECEIPT***
    THE DEBTOR’S ATTORNEY OR SELF REPRESENTED DEBTOR MUST APPEAR AT THE
             CONFIRMATION HEARING OR THE CASE MAY BE DISMISSED
TRUSTEE’S RECOMMENDATION FOR HEARING
                                                      LAST REVIEWED: 12/10/2024
                                                                                                Objection to Exemptions: Valuation
1A Plan served 11/14
If debtor’s counsel appears, confirms service, agrees to vesting and the recommendation on the record:

Confirm 1A Plan




I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S. First Class
pre-paid Mail on the pro se debtor on the same day filed with the Court.

                                                                  Submitted by:
                                                                  NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 279806, MIRAMAR, FL 33027, (954) 443-4402
